
PER CURIAM.
We have for review R.R.K. v. State, 912 So.2d 328 (Fla. 5th DCA 2005) (on motions for rehearing and certification), in which the Fifth District Court of Appeal certified the same question as was then pending review in this Court via V.K.E. v. State, 902 So.2d 343 (Fla. 5th DCA 2005), *399quashed, 934 So.2d 1276 (Fla.2006). We have jurisdiction. See art. V, § 3(b)(4), Fla. Const.
We have since answered the certified question in a manner contrary to the decision presently on review. See V.K.E. v. State, 934 So.2d 1276 (Fla.2006). We have thus determined, and respondent agrees, that we should exercise our jurisdiction to grant the petition for review, quash the decision under review, and remand to the Fifth District Court of Appeal for reconsideration upon application of this Court’s decision in V.KE.
It is so ordered.
LEWIS, C.J., and WELLS, ANSTEAD, PARIENTE, and QUINCE, JJ., concur.
CANTERO and BELL, JJ., concur in result only.
